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           EXHIBIT 6
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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK




      MARVEL CHARACTERS, INC.,

                        Plaintiff,                   Case No.: 1:21-cv-05316-DG-TAM
           V.
                                                     Hon. Diane Gujarati
      NANC I SOLO and ERIK COLAN,

                        Defendants.


                                                 DEFENDANT SOLO'S RESPONSES
      NANC I SOLO and ERIK COLAN,                AND OBJECTIONS TO PLAINTIFF'S
                                                 FIRST SET OF REQUESTS FOR
                        Counterclaimants,        ADMISSION TO NANCI SOLO
           V.


      MARVEL CHARACTERS, INC. and DOES 1-
      10, inclusive,

                 Counterclai m-Defendants.




                                                                                      EXHIBIT
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             Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendant and

      Counterclaim-Plaintiff Nanci Solo ("Defendant") hereby submits these Objections and

      Responses ("Responses") to Plaintiff Marvel Characters, Inc.'s ("Marvel") Requests for

      Admission ("Requests").

                                      PRELIMINARY STATEMENT

             Defendant's Responses are based on the information reasonably and currently known to

      Defendant. Given that discovery is ongoing, Defendant reserves all rights to supplement these

      Responses as more information becomes available.

             Nothing in these Responses is or shall be construed as an implied or incidental admission

      of any fact, event, circumstance, claim, or defense and no incidental or implied admissions are

      intended by Defendant's Responses to the Requests. The supplying of any fact does not

      constitute an admission by Defendant that such fact is relevant or admissible. By these

      Responses, Defendant does not intend to waive, and does not waive, any objection at trial to the

      admission into evidence of these Responses, in whole or in part, or the documents produced in

      connection with them. Rather, Defendant intends to preserve, and does preserve, all objections to

      the admission into evidence of these Responses, in whole or in part, and the documents produced

      in connection with them, including, without limitation, objections based on relevance,

      foundation, authority, or privilege, as well as any and all objections based on the Federal Rules

      of Evidence or otherwise.

             The Responses set forth herein are based on information now available to Defendant.

      Discovery is ongoing, and Defendant reserves the right to amend, modify, supplement, or alter

      these Responses as warranted by subsequently discovered information, and also to rely upon

      subsequently discovered information or information omitted from these Responses due to

      mistake, ~rror, or inadvertence. Defendant's Responses to the Requests are made without

      prejudice to her right to provide supplemental responses and objections.

                                         GENERAL OBJECTIONS

             Defendant objects to the Requests on each of the following grounds, and incorporates by
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      reference each of the following objections in the Response to each individual Request within it:

             1.      Defendant objects to the Requests to the extent they seek information transmitted

      and maintained in confidence between Defendant and any person or entity in Defendant's

      counsel for the purpose of obtaining legal advice or representation, on the ground that such

      information is protected from disclosure by the attorney-client privilege;

             2.      Defendant objects to the Requests to the extent they seek information with any

      confidential impression, conclusion, opinion, legal research, or legal theory of counsel for

      Defendant or any other person or entity, on the ground that such information is protected for

      disclosure by the attorney work product privilege;

             3.      Defendant objects to the Requests to the extent they seek information which is not

      reasonably calculated to lead to the discovery of admissible evidence, on the ground that it

      exceeds the permissible scope of discovery delimited by Rule 26(b)(l) of the Federal Ru les of

      C ivil Procedure; and

             4.      Defendant objects to the Req uests to the extent they impose any obligation

      beyond those set fo11h in Ru le 36 of the Federal Rules of C ivil Procedure including, w ithout

      limitation, the assertion that the Requests are "continuing" and al l purported instructions

      included therein pe1taining to the content of Defendant's written response.

             Each of the responses below incorporates by reference the foregoing objections,

      qualifications, and limitations. Without waivi ng any of these objections, qualifications, and

      limitations, Defendant responds as follows:

                              SPECIFIC OBJECTIONS AND RESPONSES

      REQUEST FOR ADMISSION NO. 1

             Admit that Jill Kubicki is a biological child of Gene Colan and Sallee Greenberg.

      RESPONSE TO REQUEST FOR ADMISSION NO. 1

             Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant's agents. After reasonable inquiry,
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      the infonnation that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 2

             Admit that Valerie Waldman is a biological child of Gene Colan and Sallee Greenberg.

      RESPONSE TO REQUEST FOR ADMISSION NO. 2

             Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant's agents. After reasonable inquiry,

      the infonnation that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 3

             Adm it that Nonnan Brust adopted Jill Kubicki and Valerie Waldman in and pursuant to

      the laws of the State ofNew York.

      RESPONSE TO REQUEST FOR ADMISSION NO. 3

             Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant' s agents. After reasonable inquiry,

      the infonnation that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 4

             Admit that when Nonnan Brust adopted Jill Kubicki and Valerie Waldman, he was

      married to Sallee Greenberg.

      RESPONSE TO REQUEST FOR ADMISSION NO. 4

             Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant's agents. After reasonable inquiry,

      the infonnation that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 5

             Admit that Gene Colan passed away on or about June 23, 2011.
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      RESPONSE TO REQUEST FOR ADMISSION NO. 5

               Adm itted.

      REQUEST FOR ADMISSION NO. 6

               Admit that at the time of his death Gene Colan was a domiciliary of the State of New

      York.

      RESPONSE TO REQUEST FOR ADMISSION NO. 6

               Admitted.

      REQUEST FOR ADMISSION NO. 7

               Admit that Gene Colan had four biological children.

      RESPONSE TO REQUEST FOR ADMISSION NO. 7

               Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant's agents. After reasonable inquiry,

      the infonnation that Defendant knows or can readily obtain is insufficient to enable Defendant to

      fully admit or deny this Request. Notwithstanding the above, Defendant admits that Gene Colan

      had two biological children, Defendants Erik Colan and Nanci Solo. As to the remainder of the

      Request, denied.

      REQUEST FOR ADMISSION NO. 8

               Admit that Erik Colan is a biological chi ld of Gene Colan and Adrienne Brickman.

      RESPONSE TO REQUEST FOR ADMISSION NO. 8

               Adm itted that Defendant Erik Colan is the biological child of Gene Colan and Adrienne

      Colan.

      REQUEST FOR ADMISSION NO. 9

               Admit that You are a biological child of Gene Colan and Adrienne Brickman.

      RESPONSE TO REQUEST FOR ADMISSION NO. 9

               Admitted that Nanci Solo is a biological chi Id of Gene Colan and Adrienne Colan.

      REQUEST FOR ADMISSION NO. 10

               Admit that Rachel Waldman is ali ve.
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      RESPONSE TO REQUEST FOR ADMISSION NO. 10

             Admitted.

      REQUEST FOR ADMISSION NO. 11

             Admit that Jill Kubicki is alive.

      RESPONSE TO REQUEST FOR ADMISSION NO. 11

             Admitted.

      REQUEST FOR ADMISSION NO. 12

             Admit that Rachel Waldman is a biological child of Valerie Waldman.

      RESPONSE TO REQUEST FOR ADMISSION NO. 12

             Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant's agents. After reasonable inquiry,

      the information that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 13

             Admit that Valerie Waldman passed away on or about January 13, 2014.

      RESPONSE TO REQUEST FOR ADMISSION NO. 13

             Defendant does not currently possess any documents that address this subject and such

      information is not w ithin the present knowledge of Defendant' s agents. After reasonable inquiry,

      the information that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 14

             Admit that Valerie Waldman was survived by her husband, John W. Waldman, and her

      daughter, Rachel Waldman.

      RESPONSE TO REQUEST FOR ADMISSION NO. 14

             Defendant does not currently possess any documents that address this subject and such

      information is not within the present knowledge of Defendant' s agents. After reasonable inquiry,
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      the information that Defendant knows or can readily obtain is insufficient to enable Defendant to

      admit or deny this Request, and on that basis, it is denied.

      REQUEST FOR ADMISSION NO. 15

             Admit that you are not aware of any instance in which Marvel did not pay Gene Colan

      for any of his contributions to the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 15

              Defendant objects to this Request on the ground that it is compound and fai ls to

      separately set forth each matter as to which an admission is sought as required by Rule 36(a)(2),

      given that " Works" is defined as dozens of "comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s]." Defendant further objects that the Request is compound,

      overbroad, and unduly burdensome given that "Marvel" is defined as Marvel Characters, Jnc.

      "and/or any related or predecessor entities, Including Atlas Magazines, Inc., Cadence Industries

      Corporation, Canam Publishers Sales Corp., Magazine Management Co., Inc., Marvel Com ics

      Group, Marvel Entertainment Group, Inc., Marvel Comics, Inc., Non-Pareil Publishing Corp.,

      Perfect Film & Chemical Corporation, and Vista Publications, Inc., and, where applicable, their

      present and former officers, directors, employees, agents, partners, subsidiaries, members, and

      affiliates." Defendant further objects on the grounds that Marvel ' s non-exhaustive list of"related

      or predecessor" entities, many of which were not identified, makes its Request vague and

      ambiguous. Further, Defendant objects that "Marvel" is defined using the grammatical

      conjunction "and/or" and the vague "where applicable," further making this Request vague,

      ambiguous, and overbroad. Defendant does not know whether Marvel intends to ask about one

      " Marvel " entity, some, or all of them or "where" its reference to its " present and former officers,

      directors, employees, agents, partners, subsidiaries, members, and affiliates" is "appli cable.'· On

      these bases, this Request is denied.

      REQUEST FOR ADMISSION NO. 16

             Admit that Gene Colan did not contribute to the Works until Marvel and/or Stan Lee

      assigned the project, task, and/or work to him.
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      RESPONSE TO REQUEST FOR ADMISSION NO. 16

             Defendant objects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined term "assigned." Defendant fu rther objects to this Request on the

      ground that it is compound and fails to separately set forth each matter as to which an adm ission

      is sought as required by Rule 36(a)(2), given that "Works" is defined as dozens of " comic

      book[s], character[s], stor[ies], illustration[s], or other narrative or graphic work[s]." Defendant

      furt her objects that the Request is compound, overbroad, and unduly burdensome given that

      "Marvel" is defi ned as Marvel C haracters, Inc. "and/or any related or predecessor entities,

      Including Atlas Magazines, Inc., Cadence Industries Corporation, Canam Publishers Sales Corp.,

      Magazine Management Co., Inc., Marvel Comics Group, Marvel Entertainment Group, Inc.,

      Marve l Comics, Inc., Non-Pareil Publishing Corp., Perfect Film & Chem ical Corporation, and

      Vista Publications, Inc., and, where app licable, their present and former officers, directors,

      employees, agents, partners, subsidiaries, members, and affi liates." Defendant further objects on

      the grounds that Marvel 's non-exhaustive li st of"related or predecessor" entities, many of which

      were not identified, makes its Request vague and ambiguous. Further, Defendant objects that

      " Marvel" is defined using the grammatical conjunction " and/or" and the vague "where

      applicable," further making this Request vague, ambiguous, and overbroad. Defendant does not

      know whether Marvel intends to ask about one " Marvel" entity, some, or a ll of them or "where"

      its reference to its "present and former officers, directors, employees, agents, partners,

      subsidiaries, members, and affiliates" is "applicable." Further responding, Defendant objects to

      the use of the conjoined ·'Marvel and/or Stan Lee" and " project, task, and/or work," again

      because such conjunctions make the Request compound, overbroad, vague, and ambiguous.

      Defendant further objects to this Req uest insofar as it is argumentative, and assumes and/or

      mischaracterizes purported facts, specifically, the relationship between Marve l, Stan Lee, and

      Gene Colan, who was not "assigned" proj ects, tasks, or work because Marvel had no

      demonstrable legal right to tell Gene Colan what to do. On these bases, this Request is denied.
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      REQUEST FOR ADMISSION NO. 17

                Admit that Marvel and/or Stan Lee had editorial control over Gene Colan's contributions

      to the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 17

                Defendant objects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined phrase "editorial control." Defendant further objects to this Request on

      the ground that it is compound and fai ls to separately set forth each matter as to wh ich an

      admission is so ught as required by Ru le 36(a)(2), given that "Works" is defined as dozens of

      "comic book[s], character[s], stor[ies], illustration[s], or other narrative or graphic work[s]."

      Defendant further objects that the Request is compound, overbroad, and unduly burdensome

      given that " Marvel" is defined as Marvel Characters, Inc. " and/or any related or predecessor

      entities, Includ ing Atlas Magazines, Inc., Cadence Industries Corporation, Canam Publishers

      Sales Corp., Magazine Management Co., Inc., Marvel Comics Group, Marvel Entertainment

      Group, Inc., Marvel Com ics, Inc., Non- Pareil Publishing Corp., Perfect Film & Chemical

      Corporation, and Vista Publications, Inc., and, where app licable, their present and former

      officers, d irectors, employees, agents, partners, subsidiaries, members, and affiliates." Defendant

      further objects on the grounds that Marvel's non-exhaustive list of"related or predecessor"

      entities, many of which were not identified, makes its Request vague and ambiguous. Further,

      Defendant objects that " Marvel" is defined using the grammatical conjunction "and/or" and the

      vague "where appl icable," further making this Request vague, ambiguous, and overbroad.

      Defendant does not know whether Marvel intends to ask about one " Marvel" entity, some, or all

      of them or "where" its reference to its " present and former officers, d irectors, employees, agents,

      partners, subsidiaries, members, and affiliates" is "applicable." Further responding, Defendant

      objects to the use of the conjoined " Marvel and/or Stan Lee," again because s uch a conj unction

      makes the Request compound, overbroad, vague, and ambiguous. On these bases, the Request is

      denied.
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      REQUEST FOR ADMISSION NO. 18

                Admit that Marvel and/or Stan Lee exercised editorial control over Gene Colan' s

      contributions to the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 18

                Defendant objects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined phrase "editorial control." Defendant further objects to th is Request on

      the ground that it is compound a nd fail s to separately set forth each matter as to which an

      admission is sought as requ ired by Rule 36(a)(2), given that "Works" is defined as dozens of

      "comic book[s], character[s], stor[ies], illustration[s], or other narrative or graphic work[s]."

      Defendant further objects that the Request is compound, overbroad, and unduly burdensome

      given that "Marvel" is defined as Marvel C haracters, Inc. " and/or any related or predecessor

      entit ies, Including Atlas Magazines, Inc., Cadence Industries Corporation, Canam Publishers

      Sales Corp., Magazine Management Co., Inc., Marvel Comics Group, Marvel Entertainment

      Group, Inc., Marvel Comics, Inc., Non-Pareil Publ ishing Corp., Perfect Fi lm & Chemical

      Corporation, and Vista Publications, Inc., and, where app licable, their present and former

      officers, directors, employees, agents, partners, subsidiaries, members, and affiliates." Defendant

      furthe r objects on the grounds that Marvel's non-exhaustive list of"related or predecessor"

      entities, many of which were not identified, makes its Request vague and ambiguous. Further,

      Defendant objects that " Marvel" is defined us ing the grammatical conjunction " and/or" and the

      vague "where applicable," further making th is Request vague, ambiguous, and overbroad.

      Defendant does not know whether Marvel intends to ask about one "Marvel" entity, some, or all

      of them or "where" its reference to its "present and former officers, directors, employees, agents,

      partners, subsidiaries, members, and affi liates" is "applicable." Further responding, Defendant

      objects to the use of the conjoi ned " Marvel and/or Stan Lee," again because such a conjunction

      makes the Request compound, overbroad, vague, and ambiguous. On these bases, the Request is

      denied.
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      REQUEST FOR ADMISSION NO. 19

                Admit that Marvel and/or Stan Lee participated in the creation of the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 19

                Defendant obj ects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined phrase "participated in." Defendant further objects to this Request on

      the ground that it is compound and fails to separately set forth each matter as to which an

      admission is sought as requ ired by Rul e 36(a)(2), given that " Works" is defined as dozens of

      "comic book[s], character[s], stor[ies], illustration[s], or other narrative or graphic work[s]."

      Defendant further objects that the Request is compound, overbroad, and undu ly burdensome

      given that " Marvel" is defined as Marvel Characters, l nc. "and/or any related or predecessor

      entities, Including Atlas Magazines, Inc., Cadence Industries Corporation, Canam Publishers

      Sales Corp., Magazine Management Co., Inc., Marvel Comics Group, Marvel Entertainment

      Group, Inc., Marvel Comics, Inc., Non-Pareil Publishing Corp., Perfect Film & C hemical

      Corporation, and Vista Publications, Inc., and, where applicable, their present and former

      officers, d irectors, employees, agents, partners, subsidiaries, members, and affiliates." Defendant

      further objects on the grounds that Marvel's non-exhaustive list of"related or predecessor"

      entities, many of which were not identified, makes its Request vague and ambiguous. Further,

      Defendant objects that " Marvel" is defined using the grammatical conjunction "and/or" and the

      vague "where applicable," further making this Request vague, ambiguous, and overbroad.

      Defendant does not know whether Marvel intends to ask about one "Marvel" entity, some, or all

      of them or "where" its reference to its " present and former officers, directors, employees, agents,

      partners, subsidiaries, members, and affiliates" is "applicable." Further respondi ng, Defendant

      objects to the use of the conjoined "Marvel and/or Stan Lee," again because such a conjunction

      makes the Request compound, overbroad, vague, and ambiguous. On these bases, the Request is

      denied.

      REQUEST FOR ADMISSION NO. 20

                Admit that Gene Colan was paid a per-page-rate for his contribution to the Works.
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      RESPONSE TO REQUEST FOR ADMISSION NO. 20

             Defendant objects to this Request on the ground that it is compound and fails to

      separately set forth each matter as to which an admission is sought as required by Rule 36(a)(2),

      given that "Works" is defined as dozens of"comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s]." Defendant further objects to this Request as it is vague as

      drafted as, logically, one cannot be "paid a per-page rate." Without waiving the foregoing,

      Defendant admits that Marvel did not purchase and pay Gene Colan for those pages of his

      artwork that Marvel chose to reject or wanted redrawn in Marvel's sole discretion. Marvel only

      paid for the final freelance work it accepted and purchased for publication in its sole discretion

      and did not pay for rejected material or material it wanted Gene Colan to revise. As to the

      remainder of the Request, denied.

      REQUEST FOR ADMISSION NO. 21

             Admit that you do not contend that Gene Colan was the sole-author of any of the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 21

             Defendant objects to this Request on the ground that it is compound and fails to

      separately set forth each matter as to which an admission is sought as required by Rule 36(a)(2),

      given that "Works" is defined as dozens of"comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s]." Defendant further objects to this Request because it seeks

      admission as to authorship, which is a question of law and requires a legal conclusion. Without

      waiving the foregoing, after reasonable inquiry, the information that Defendant knows or can

      readily obtain is insufficient to enable Defendant to admit or deny this Request, and on these

      bases the Request is denied.

      REQUEST FOR ADMISSION NO. 22

             Admit that you do not have any contemporaneous written Agreements between Marvel

      and Gene Colan related to any of the Works.
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      RESPONSE TO REQUEST FOR ADMISSION NO. 22

              Defendant objects to this Request on the ground that it is compound and fai ls to

      separately set forth each matter as to which an admission is sought as required by Rule 36(a)(2),

      given that "Works" is defined as dozens of "comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s]." Defendant further objects that the Request is compound,

      overbroad, and unduly burdensome given that "Marvel" is defined as Marvel Characters, Inc.

      "and/or any related or predecessor entities, Including Atlas Magazines, Inc., Cadence Industries

      Corporation, Canam Publishers Sales Corp., Magazine Management Co., Inc., Marvel Comics

      Group, Marvel Entertainment Group, Inc., Marvel Com ics, Inc., Non-Pareil Publishing Corp.,

      Perfect Film & Chemical Corporation, and Vista Publications, lnc., and, where applicable, their

      present and former officers, directors, employees, agents, partners, s ubsidiaries, members, and

      affi liates." Defendant further objects on the grounds that Marvel's non-exhaustive list of"related

      or predecessor" entities, many of which were not identified, makes its Request vague and

      ambiguous. Defendant does not know whether Marvel intends to ask about one "Marvel" entity,

      some, or all of them or "where" its reference to its "present and former officers, directors,

      employees, agents, partners, subsidiaries, members, and affi liates" is "applicable." Defendant

      further objects that "written Agreements" is compound, given that "Agreement" includes both

      "express" and "implied" agreements. Defendant further objects on the grounds that Marvel' s use

      of the term '·contemporaneous" renders the Request vague, ambiguous and imprecise. On these

      bases, the Request is denied.

      REQUEST FOR ADMISSION NO. 23

             Admit that Marvel and/or Stan Lee induced Gene Colan to provide the creative

      expression in the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 23

             Defendant objects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined term " induced." Defendant further objects to this Request on the

      ground that it is compound and fai ls to separately set forth each matter as to which an admission
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      is sought as required by Rule 36(a)(2), given that " Works" is defined as dozens of "com ic

      book[s], character[s], stor[ies], illustration[s], or other narrative or graphic work[s]." Defendant

      further objects that the Request is compound, overbroad, and unduly burdensome given that

      " Marvel " is defined as Marvel Characters, Inc. "and/or any related or predecessor entities,

      Including Atlas Magazines, Inc., Cadence Industries Corporation, Canam Publishers Sales Corp.,

      Magazine Management Co., Inc., Marvel Comics Group, Marvel Entertainment Group, Inc.,

      Marvel Comics, Inc., Non-Pareil Publishing Corp., Perfect Film & Chemica l Corporation, and

      Vista Publications, Inc., and, where applicable, their present and fonner officers, directors,

      employees, agents, partners, subsidiaries, members, and affiliates." Defendant further objects on

      the grounds that Marvel's non-exhaustive list of " related or predecessor" entities, many of which

      were not identified, makes its Request vague and ambiguous. Further, Defendant objects that

      " Marvel" is defined using the grammatical conjunction "and/or" and the vague "where

      app licable," further making this Request vague, ambiguous, and overbroad. Defendant does not

      know whether Marvel intends to ask about one "Marvel" entity, some, or all of them or "where"

      its reference to its "present and fonner officers, directors, employees, agents, partners,

      subsidiaries, membe rs, and affili ates" is "applicable." Further responding, Defendant objects to

      the use of the conjoined "Marvel and/or Stan Lee,'' again because such a conjunction makes the

      Request compound, overbroad, vague, and ambiguous. Additionally, Defendant objects on the

      grounds that Marvel 's use of the phrase "to provide the creative expression" (em phasis added)

      renders the Request vague and ambiguous as to what exactly it is referring to. On these bases, the

      Request is denied.

      REQUEST FOR ADMISSION NO. 24

             Admit that Marvel and/or Stan Lee provided the impetus for Gene Colan's contributions

      to the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 24

             Defendant objects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined term " impetus." Defendant further objects to th is Request on the
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      ground that it is compound and fails to separately set forth each matter as to which an admission

      is sought as required by Rule 36(a)(2), given that "Works" is defined as dozens of " comic

      book[s], character[s], stor[ies], illustration[s], or other narrative or graphic work[s]." Defendant

      fu rt her objects that the Req uest is compound, overbroad, and unduly burdensome given that

      "Marvel" is defined as Marvel Characters, Inc. "and/or any related or predecessor entities,

      Including Atlas Magazines, Inc., Cadence Industries Corporation, Canam Publishers Sales Corp.,

      Magazi ne Management Co., Inc., Marvel Comics Group, Marvel Entertainment Group, Inc.,

      Marvel Comics, Inc., Non-Pareil Publishing Corp., Perfect Film & Chemical Corporation, and

      Vista Publications, Inc., and, where applicable, their present and former officers, directors,

      employees, agents, partners, subsidiaries, members, and affiliates." Defendant further objects on

      the grounds that Marvel 's non-exhaustive list of "related or predecessor" entities, many of which

      were not identified, makes its Request vague and ambiguous. Further, Defendant objects that

      "Marvel" is defined using the grammatica l conjunction "and/or" and the vague "where

      applicable," further making th is Req uest vague, ambiguous, and overbroad. Defendant does not

      know whether Marvel intends to ask about one "Marvel" entity, some, or all of them or "where"

      its reference to its "present and former officers, di rectors, employees, agents, partners,

      subsidiaries, members, and affi liates" is "applicable." Further responding, Defendant objects to

      the use of the conjoined "Marvel and/or Stan Lee," again because such a conjunction makes the

      Request compound, vague, and ambiguous. O n these bases, the Request is denied.

      REQUEST FOR ADMISSION NO. 25

             Adm it that Marvel and/or Stan Lee provided Gene Colan with an oral and/or written plot,

      synopsis, or other simi lar instruction for the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 25

             Defendant obj ects to this Request on the ground that it is compound and fails to

      separately set forth each matter as to which an adm ission is sought as required by Rule 36(a)(2),

      given that "Works" is defined as dozens of" comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s].'' Defendant further objects that the Request is compound,
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      overbroad, and unduly burdensome given that "Marvel" is defined as Marvel Characters, Inc.

      "and/or any related or predecessor entities, Including Atlas Magazines, Inc., Cadence Industries

      Corporation, Canam Publishers Sales Corp., Magazine Management Co., Inc., Marvel Comics

      Group, Marvel Entertainment Group, Inc., Marvel Comics, Inc., Non-Pareil Publishing Corp.,

      Perfect Fi lm & Chemical Corporation, and Vista Publications, Inc., and, where applicable, their

      present and former officers, directors, employees, agents, partners, subsidiaries, members, and

      affiliates." Defendant further objects on the grounds that Marvel's non-exhaustive list of " related

      or predecessor" entit ies, many of which were not identified, makes its Request vague and

      ambiguous. Further, Defendant objects that " Marvel" is defined us ing the grammatical

      conjunction "and/or" and the vague "where applicable," further making this Request vague,

      ambiguous, and overbroad. Defendant does not know whether Marvel intends to ask about one

      " Marvel" entity, some, or all of them or " where" its reference to its " present and former officers,

      directors, employees, agents, partners, subsidiaries, members, and affil iates" is "applicable."

      Further respond ing, Defendant objects to the use of the conjoined " Marvel and/or Stan Lee" and

      "oral and/or written plot, synopsis, or other similar instruction," again because such conjunctions

      make the Request compound, overbroad, vague, and ambiguous. Defendant further objects to

      this Request insofar as it is argumentative, and assumes and/or mischaracterizes purported facts,

      including that its characterization of items as " instructions," because Marvel and/or Stan Lee had

      no legal right to " instruct" Gene Colan. On these bases, the Request is denied.

      REQUEST FOR ADMISSION NO. 26

              Admit that Marvel and/or Stan Lee had the right and/or power to accept, reject, or modify

      Gene Colan's contributions to the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 26

              Defendant objects to this Request on the ground that it is compound and fails to

      separately set forth each matter as to which an adm ission is sought as required by Rule 36(a)(2),

      g iven that " Works" is defined as dozens of " comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s]." Defendant further objects that the Request is compound,
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      overbroad, and unduly burdensome given that " Marvel" is defined as Marvel Characters, Inc.

      "and/or any related or predecessor entities, Including Atlas Magazines, Inc., Cadence Industries

      Corporation, Canam Publishers Sales Corp., Magazine Management Co., Inc., Marvel Comics

      Group, Marvel Entertainment Group, Inc., Marvel Comics, Inc., Non-Pareil Publishing Corp.,

      Perfect Film & Chemical Corporation, and Vista Publications, Inc., and, where applicable, their

      present and former officers, directors, employees, agents, partners, subsidiaries, members, and

      affi Iiates." Defendant further objects on the grounds that Marvel' s non-exhaustive Iist of "related

      or predecessor" entities, many of which were not identified, makes its Request vague and

      ambiguous. Further, Defendant objects that " Marvel" is defined using the grammatical

      conjunction " and/or" and the vague "where applicable," further making this Request vague,

      ambiguous, and overbroad. Defendant does not know whether Marvel intends to ask about one

      "Marvel" entity, some, or all of them or "where" its reference to its "present and former officers,

      directors, employees, agents, partners, subsidiaries, members, and affiliates" is " appl icable."

      Further responding, Defendant objects to the use of the conjoined " Marvel and/or Stan Lee" and

      " right and/or power to accept, reject, or modify," again because such conjunctions make the

      Request compound, overbroad, vague, and ambiguous. Further still, the terms " right" and

      "power" are undefined, and their meaning unclear. To the extent "right" means a " legal right,"

      Defendant objects on the ground that this Request seeks an admission of a question of law or for

      a legal conclusion. On these bases, the Request is denied.

      REQUEST FOR ADMISSION NO. 27

             Adm it that Marvel and/or Stan Lee had the right to direct and supervise the manner in

      which Gene Colan carried out his services with respect to the Works.

      RESPONSE TO REQUEST FOR ADMISSION NO. 27

             Defendant objects to this Request on the ground that it is compound and fails to

      separately set forth each matter as to which an admission is sought as required by Rule 36(a)(2),

      given that " Works" is defined as dozens of"comic book[s], character[s], stor[ies], illustration[s],

      or other narrative or graphic work[s]." Defendant further objects that the Request is compound,
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      overbroad, and unduly burdensome given that "Marvel" is defined as Marvel Characters, Inc.

      "and/or any related or predecessor entities, Including Atlas Magazines, Inc., Cadence Industries

      Corporation, Canam Publishers Sales Corp., Magazine Management Co., Inc., Marvel Comics

      Group, Marvel Entertainment Group, Inc., Marvel Comics, Inc., Non-Pare il Publishing Corp.,

      Perfect Film & Chemical Corporation, and Vista Publications, Inc., and, where applicable, their

      present and former officers, directors, employees, agents, partners, subsidiaries, members, and

      affiliates." Defendant further objects on the grounds that Marvel's non-exhaustive list of"related

      or predecessor" entities, many of which were not identified, makes its Request vague and

      ambiguous. Defendant does not know whether Marvel intends to ask about one "Marvel" entity,

      some, or all of them or " where" its reference to its " present and former officers, directors,

      employees, agents, partners, subsidiaries, members, and affil iates" is "applicable." Further

      respond ing, Defendant objects to the use of the conjoined " Marvel and/or Stan Lee" and "direct

      and supervise," again because such conjunctions make the Request compound, overbroad, vague,

      and ambiguous. Defendant also objects that the Request's use of the phrase "the manner in

      which" renders the Request vague and ambiguous as to what exactly the Request refers to.

      Fu11her still , the term "right" is undefined, and its meaning unclear. To the extent " right" means

      a " legal right," Defendant objects on the gro und that this Request seeks an admission of a

      question of law or for Defe ndant to make a legal conc lusion. Defendant further objects to this

      Request insofar as it is argumentative, and assumes and/or mi scharacterizes purported facts,

      specifically that Gene Colan "carried out [] services." On these bases, the Request is denied.

      REQUEST FOR ADMISSION NO. 28

             Admit that Gene Colan did not work "on spec" as that term is used in Marvel Worldwide,

      Inc. v. Kirby, 777 F. Supp. 2d 720, 739 (S.D.N.Y. 2011).

      RESPONSE TO REQUEST FOR ADMISSION NO. 28

              Defendant objects to this Request on the grounds that it is vague and ambiguous as to the

      meaning of the undefined term "on spec." Defendant further objects to this Request on the

      ground that it is improper and unduly burdensome in that it incorporates documents by reference
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      and cannot be admitted or denied by reference only to statements made in the Request. The

      Request is further vague, ambiguous, and overbroad given that it did not define any specific

      Work, period of time, or publisher. Gene Colan actively produced works for more than sixty

      years and sold to multiple different publishers. On these bases, the Request is denied.



      Date: October 11, 2022                By:           Isl Marc Toberoff
                                                          Marc Toberoff
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                                             PROOF OF SERVICE

             I, Jaymie Parkkinen, declare:

             I am over the age of eighteen years and not a party to the within action. I am a resident of

      or employed in the county where the service described below occurred. My business address is

      23823 Malibu Road, Suite 50-363, Malibu, CA 90265. On October 11, 2022, 1 caused the

      following document:

      DEFENDANT SOLO'S RESPONSES AND OBJECTIONS TO PLAINTIFF'S FIRST SET

      OF REQUESTS FOR ADMISSION TO NANCI SOLO

      to be served as follows:

      [ J    BY ELECTRONIC MAIL - 1 caused the above-described document to be served by

      electronic mail transmission on the interested parties noted below, where an electronic mail

      address is indicated.

      [xJ    BY MAIL - I am readily familiar with this firm's practice for collection and processing of

      correspondence for mailing with the United States Postal Service. In the ordinary course of

      business, correspondence collected from me would be processed on the same day, with postage

      thereon fully prepaid and placed for deposit that day with the United States Postal Service. On

      October 11, 2022, I put a true and correct copy of the above-referenced document in a sealed

      envelope, with postage fully prepaid, and placed the envelope for collection and mailing today

      with the United States Postal Service in accordance with the firm's ordinary business practices,

      addressed as follows:
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             I declare under penalty of perjury under the laws of the United States that the above is true

      and correct. Executed on October 11, 2022, at Malibu, California.


                                                               Isl Jaymie Parkkinen
                                                                  Jaymie Parkkinen
